      Case 2:23-cv-02206-AFM Document 12 Filed 05/29/23 Page 1 of 2 Page ID #:22


 1   E. MARTIN ESTRADA
     United States Attorney
 2   DAVID M. HARRIS
 3   Assistant United States Attorney
     Chief, Civil Division
 4
     CEDINA M. KIM
 5   Assistant United States Attorney
 6   Senior Trial Attorney, Civil Division
     JENNIFER LEE TARN, CSBN 240609
 7                                                           JS-6
     Special Assistant United States Attorney
 8         Office of the General Counsel
           Office of Program Litigation
 9         Social Security Administration
10         6401 Security Boulevard
           Baltimore, MD 21235
11
           Telephone: (510) 970-4861
12         Facsimile: (415) 744-0134
13         Email: Jennifer.Tarn@ssa.gov
     Attorneys for Defendant
14
15                         UNITED STATES DISTRICT COURT
16                        CENTRAL DISTRICT OF CALIFORNIA
                                WESTERN DIVISION
17
     ADRIAN P. AISPURO,                         ) No. 2:23-cv-02206-AFM
18                                              )
                                                ) JUDGMENT
19                                              )
           Plaintiff,                           )
20                                              )
               v.                               )
21   KILOLO KIJAKAZI, Acting                    )
     Commissioner of Social Security,           )
22                                              )
                                                )
23                                              )
           Defendant.                           )
24                                              )
25
26
27
28




                                                -1-
      Case 2:23-cv-02206-AFM Document 12 Filed 05/29/23 Page 2 of 2 Page ID #:23


 1          The Court having approved the parties’ stipulation to remand this case pursuant
 2   to Sentence 4 of 42 U.S.C. § 405(g) for further proceedings consistent with that
 3   stipulation and for entry of judgment for Plaintiff, judgment is hereby entered for
 4   Plaintiff.
 5
 6   DATED: 5/29/2023
 7
 8
 9                           HONORABLE JUDGE ALEXANDER F. MACKINNON
10                           UNITED STATES MAGISTRATE JUDGE
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28




                                                -2-
